    Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- X
                                         :
SECURITIES AND EXCHANGE COMMISSION,      :
                                         :
                    Plaintiff,           :          07 Civ. 11387 (DLC)
                                         :
          -v-                            :               MEMORANDUM
                                         :            OPINION & ORDER
BRIAN N. LINES, SCOTT G.S. LINES, LOM    :
(HOLDINGS) LTD., LINES OVERSEAS          :
MANAGEMENT LTD., LOM CAPITAL LTD., LOM   :
SECURITIES (BERMUDA) LTD., LOM           :
SECURITIES (CAYMAN) LTD., LOM SECURITIES :
(BAHAMAS) LTD., ANTHONY W. WILE, WAYNE   :
E. WILE, ROBERT J. CHAPMAN, WILLIAM TODD :
PEEVER, PHILLIP JAMES CURTIS, and RYAN   :
G. LEEDS,                                :
                                         :
                    Defendants.          :
                                         :
---------------------------------------- X

APPEARANCES:

For plaintiff:
David Williams
Securities and Exchange Commission
100 F Street, N.E.
Washington, DC 20549

DENISE COTE, District Judge:

     The Securities and Exchange Commission (“SEC”) commenced

this action on December 19, 2007, alleging that two separate,

but similar, fraudulent schemes occurred between 2002 and mid-

2003.   On August 25, 2008, the Court entered consent judgments

against defendants Phillip James Curtis (“Curtis”) and William

Todd Peever (“Peever”).     On June 18, 2010, the Court entered

default judgment against defendant Robert J. Chapman
    Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 2 of 7



(“Chapman”).   The SEC moved for judgment imposing disgorgement,

prejudgment interest, and civil penalties as to Curtis, Peever,

and Chapman on January 14, 2011.        The motion was referred to

Magistrate Judge Debra Freeman on January 19 for an inquest and

Report and Recommendation as to damages (“Report”).         On June 9,

Judge Freeman issued her Report.        The parties have not submitted

objections to the Report.     For the following reasons, the

Report’s recommendations are adopted with modification only as

to the date for calculation of prejudgment interest.



BACKGROUND

     The SEC alleges that the fraudulent schemes at issue in

this case manipulated the stock prices of two publicly traded

companies quoted on the Over-the-Counter Bulletin Board.          In the

first scheme, Curtis and Peever secretly acquired a majority of

the outstanding shares of Inside Holdings Inc. (“IHI”),

convinced IHI to enter into a reverse merger agreement with SHEP

Technologies, Inc. (“SHEP”), paid for reports recommending SHEP

stock without disclosing their ownership of SHEP, and sold

shares of SHEP yielding proceeds of more than $3.1 million (the

“SHEP Scheme”).    Curtis and Peever failed to report these

profits to the SEC.    In the second scheme, Chapman, the

publisher of an online investment newsletter, disseminated false

                                    2
    Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 3 of 7



and misleading information about Renaissance Mining Corporation

(“Renaissance”) and Sedona Software Solutions, Inc. (“Sedona”),

two companies that other defendants owned and merged together,

without disclosing his own financial interest in Renaissance.

When the SEC suspended trading in Sedona stock, Chapman was

unable to convert his Renaissance holdings into publicly-traded

shares and, therefore, could not sell these holdings.

     The SEC alleges that Curtis and Peever violated the

antifraud provisions of Section 10(b) of the Securities Exchange

Act of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b); Rule 10b-5, 17

C.F.R. § 240.10b-5 (“Rule 10b-5”); the registration provisions

of Section 5 of the Securities Act of 1933 (“Securities Act”),

15 U.S.C. § 77e; the antifraud provisions of Section 17(a) of

the Securities Act, 15 U.S.C. § 77q(a); Section 13(d)(1) of the

Exchange Act; and Rule 12-d-1(a), 17 C.F.R. 240.13d-1(a).          The

SEC alleges that Chapman violated Section 10(b) of the Exchange

Act and Rule 10b-5.



DISCUSSION

     A district court “may accept, reject, or modify, in whole

or in part, the findings or recommendations made by the

magistrate judge.”    28 U.S.C. § 636(b)(1)(C).      To accept those

portions of the report to which no timely objection has been

                                    3
    Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 4 of 7



made, “a district court need only satisfy itself that there is

no clear error on the face of the record.”        Romita v. Anchor

Tank Lines Corp., No. 09 Civ. 9997 (DLC), 2011 WL 1641981, at *1

(S.D.N.Y. Apr. 29, 2011) (citation omitted).

     The Report makes the following recommendations as to

damages.   First, the Report correctly applies the rule that when

a defendant is found liable for violations of a federal

securities law, a court may grant disgorgement of any ill-gotten

gains as an equitable remedy.      SEC v. Cavanagh, 445 F.3d 105,

116-17 (2d Cir. 2006).     The Report therefore recommends an award

of $2,894,537.48, which represents the joint ill-gotten gains

from the SHEP Scheme, adding together Curtis’s profits of

$1,557,857.68 and Peever’s profits of $1,336,679.80.         The Report

also correctly recommends joint and several liability for Curtis

and Peever’s total profits because they collaborated in the

illegal conduct.    SEC v. AbsoluteFuture.com, 393 F.3d 94, 97 (2d

Cir. 2004).

     Second, the Report correctly states the rule that a court

may award prejudgment interest on the disgorged funds,

calculated by applying the Internal Revenue Service tax

underpayment rate (“IRS Rate”) set forth in 26 U.S.C. §

6621(a)(2).   SEC v. First Jersey Sec., Inc., 101 F.3d 1450,

1474-77 (2d Cir. 1996).     The Report, however, does not explain

                                    4
    Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 5 of 7



why June 23, 2003 is the date from which interest should be

calculated.    The last date that either Peever or Curtis sold

SHEP stock resulting in illegal proceeds was June 18, 2003.              The

SEC is entitled, therefore, to prejudgment interest at the IRS

Rate from June 18, 2003, to the date of judgment.

     Third, the Report correctly recommends third-tier civil

penalties against Curtis, Peever, and Chapman each in the amount

of $120,000.    Third-tier civil penalties are applicable when the

defendants’ actions involved “fraud, deceit, manipulation, or

deliberate or reckless disregard of a regulatory requirement,”

and when the violations “directly or indirectly resulted in

substantial losses or created a significant risk of substantial

losses to other persons.”     15 U.S.C. § 78u(d)(3)(B)(iii); SEC v.

Kern, 425 F.3d 143, 153 (2d Cir. 2005).       Curtis and Peever

actively participated in an eight-month scheme to manipulate a

publicly-traded stock that resulted in material losses suffered

by innocent purchasers of SHEP stock.       Chapman recklessly

published misleading reports touting the value of Sedona stock

while concealing his own financial interests, which artificially

inflated trading of Sedona shares and created a risk of

substantial losses to unwitting purchasers.        Third-tier civil

penalties are therefore appropriate.       Citing 17 C.F.R. §§

201.1001, 201.1003, 201.1004, the Report appropriately

                                    5
     Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 6 of 7



 recommends the maximum third-tier civil penalty applicable to

 violations that occurred between 2002 and 2003.         Therefore, this

 Opinion accepts the Report’s recommendation awarding civil

 penalties in the amount of $120,000 per defendant.



CONCLUSION

      Finding no clear error in Magistrate Judge Freeman’s

 Report, other than the adjustment necessary to calculate

 prejudgment interest, the Report is adopted with the

 modification described above.      The SEC is directed to draft a

 proposed order entering judgment against Curtis and Peever for

 $2,894,537.48 in disgorgement on a joint and several basis, plus

 prejudgment interest to be calculated by the SEC accruing from

 June 18, 2003 to the date it submits the proposed order.          The

 SEC’s proposed order will also enter judgments against Curtis,

 Peever, and Chapman each for $120,000 in civil penalties.          This

 proposed order must be filed no later than August 23, 2011.              The

 parties’ failure to file written objections precludes appellate




                                     6
   Case 1:07-cv-11387-DLC-DCF Document 239 Filed 08/16/11 Page 7 of 7



review of this decision, except for the start date for the

accrual of prejudgment interest.         See United States v. Male

Juvenile, 121 F.3d 34, 38 (2d Cir. 1997).

     SO ORDERED:

Dated:    New York, New York
          August 16, 2011



                                United Sates District Judge




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